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              17
              18                            UNITED STATES DISTRICT COURT
              19         NORTHERN DISTRICT OF CALIFORNIA, SAN FRANCISCO DIVISION
              20 U.S. WECHAT USERS ALLIANCE,                   Case No. 3:20-cv-05910-LB
                 CHIHUO INC., BRENT COULTER,
              21 FANGYI DUAN, JINNENG BAO,                     DECLARATION OF ERWIN
                 ELAINE PENG, and XIAO ZHANG,                  CHEMERINSKY IN SUPPORT OF
              22                                               PLAINTIFFS’ MOTION FOR
                           Plaintiffs,                         PRELIMINARY INJUNCTION
              23       v.                                      Judge: Hon. Laurel Beeler
              24 DONALD J. TRUMP, in his official
                 capacity as President of the United States,   Date: September 17, 2020
              25 and WILBUR ROSS, in his official              Time: 9:30 a.m.
                 capacity as Secretary of Commerce,            Place: Remote
              26
                               Defendants.                     Trial Date:    None Set
              27
              28

                                                                                    Case No. 3:20-cv-05910-LB
[3603348.1]                                  DECLARATION OF ERWIN CHEMERINSKY
               1                         I, Erwin Chemerinsky, declare:

               2                         1.     I have personal knowledge of the matters set forth herein, and if called as a witness,

               3 I could and would competently so testify. I make this declaration in support of Plaintiffs’ Motion
               4 For Preliminary Injunction.
               5
                                         2.     I am Dean of the University of California Berkeley School of Law, where I am also
               6
                   the Jesse H. Choper Distinguished Professor of Law. Before assuming this position in 2017, I was
               7
                   the founding Dean and Distinguished Professor of Law, and Raymond Pryke Professor of First
               8
               9 Amendment Law, at the University of California, Irvine School of Law, with a joint appointment
              10 in Political Science. I previously taught at Duke Law School, the University of Southern
              11 California School of Law (where I served for four years as director of the Center for
              12
                   Communications Law and Policy), UCLA School of Law, and DePaul University College of Law.
              13
                                         3.     My areas of expertise are constitutional law including the First Amendment, federal
              14
                   practice, civil rights and civil liberties, and appellate litigation. I am the author of eleven books,
              15
              16 including leading treatises about constitutional law, criminal procedure, and federal jurisdiction,
              17 and more than 200 law review articles. In 2016, I was named a fellow of the American Academy
              18 of Arts and Sciences. I frequently argue appellate cases, including 7 in the U.S. Supreme Court, ,
              19 and also serve as a commentator on legal issues for national and local media.
              20
                                         4.     I have reviewed the “Executive Order on Addressing the Threat Posed by
              21
                   WeChat,” E.O. No. 13943, issued on August 6, 2020. The Executive Order prohibits any
              22
                   “transaction” that is related to a messaging and social-media platform called WeChat, which is
              23
                   widely used by Chinese Americans and others. Yet there is no definition of the term “transaction.”
              24
                   The Executive Order also prohibits any transaction that evades or avoids the prohibition on
              25
                   transactions related to WeChat. The President purported to issue the Executive Order pursuant to
              26
                   the International Emergency Economic Powers Act (IEEPA) and the National Emergencies Act
              27
              28

                                                                                                               Case No. 3:20-cv-05910-LB
[3603348.1]                                                    DECLARATION OF ERWIN CHEMERINSKY
                   4852-2286-4585v.1 -
               1 (NEA). The IEEPA authorizes civil and criminal penalties for the violation of the Executive
               2 Order. See 50 U.S.C. § 1705.
               3                         5.     The Executive Order’s prohibition on the use of WeChat is the equivalent of a

               4 complete ban of a newspaper, a TV channel, or a website used by the tens of millions of U.S.
               5 citizens who regularly use the WeChat platform to communicate ideas and to conduct business
               6 every day in the United States. Historically, the government has repeatedly attempted to censor or
               7 suppress certain “offensive” content on newspapers or other media. But never has the government
               8 tried to shut down entirely a public forum used by millions of Americans. Such a broad restriction
               9 on speech, as is done by this Executive Order, is unprecedented in the modern history of this
              10 country.
              11                         6.     The public evidence gathered in the Complaint also strongly suggests that the

              12 Executive Order is motivated by anti-Chinese animus, which suggests that the Executive Order
              13 violates the Equal Protection Clause of the Fifth Amendment.
              14                         7.     I am also deeply troubled by the fact that a violation of the Executive Order can

              15 result in civil and criminal penalties. I am unaware of any law in this country that criminalizes
              16 speech regardless of its content or the speakers’ intent. The chilling effect on the exercise of free
              17 speech caused by the Executive Order is profound and constitutionally unsupportable.
              18
              19                         I declare under penalty of perjury under the laws of the United States of America that the
                                                                                          4:22 p.m.
              20 foregoing is true and correct, and that this declaration is executed at __________, this 27th
                                                                                                          ___ day of

              21 August, 2020.
              22
              23
                                                                                   Dean Erwin Chemerinsky
              24
              25
              26
              27
              28

                                                                                   2                          Case No. 3:20-cv-05910-LB
[3603348.1]                                                    DECLARATION OF ERWIN CHEMERINSKY
                   4852-2286-4585v.1 -
